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 8                                                                          
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 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                          OAKLAND DIVISION
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13 UNITED STATES OF AMERICA,                         ) NO. CR 20-001-2 JST
                                                     )
14           Plaintiff,                              ) NOTICE OF DISMISSAL
                                                     )
15      v.                                           )
                                                     )
16 LEVYONNE IGNACIO-BOOTH,                           )
                                                     )
17           Defendant.                              )
                                                     )
18

19           With leave of the Court, and pursuant to Federal Rule of Criminal Procedure 48(a), the United
20 States Attorney for the Northern District of California dismisses the above indictment against Levyonne

21 Ignacio-Booth.

22

23 DATED: August 9, 2021                                        Respectfully submitted,
24                                                              STEPHANIE M. HINDS
                                                                Acting United States Attorney
25

26
                                                                THOMAS A.A COLTHURST
27                                                              Deputy Chief, Criminal Division
28

     NOTICE OF DISMISSAL
     No. CR 20-001-2 JST_________                                                            v. 8/4/2021
             Case 4:20-cr-00301-JST Document 79 Filed 08/11/21 Page 2 of 2




 1         Leave is granted to the government to dismiss the indictment against Levyonne Ignacio-Booth.

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 4 Date: $XJXVW
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 5                                                           United
                                                             Un
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                                                                ited States District Judge
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     NOTICE OF DISMISSAL
     No. CR 20-001-2 JST_________                                                           v. 8/4/2021
